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D.C. Docket No.

MI.\.)L\.JN

DORIS WHITE BOLDEN, ET AL
Plaintiffs
V'.
NATIONAL RAILROAD PASSENGER CORPORATION, ETC; ET AL

Defendants

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MARK RAYMOND LAPAPA

Plaintiff - Appellant

V.

NATIONAL RAILROAD PASSENGER CORPORATION, doing business as
Amtrak; CANADIAN NATIONAL/ILLINOIS CENTRAL RAILROAD COMPANY

Defendants - Appellees

Appeal from.the United States District Court for the
Eastern District of Louisiana, New Orleans.

Before KING, HIGGINBOTHAM, and GARZA, Circuit Judges.

J U D G M E N T

 

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This cause was Considered on the record on §§p$WKEBBd-Lha___
briefs on file. X Dktd

 

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_____ Doc. No._____._.-

 

Case 2:O4-Cv-Oll25-KDE-DEK Document 175 Filed 11/06/06 Page 2 of 2

It is ordered and adjudged that the judgment of the District
Court is affirmed.

IT IS FURTHER ORDERED that plaintiff-appellant pay to

defendants-appellees the costs on appeal to be taxed by the Clerk
of this Court.

ISSUED AS MANDATE: NUV 03 2093

A True Copy
Att ¢-. t

 

New Orleans, Logisiana --

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